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 AO 106 (Rev. 06/09) Application for a Search Warrant


                                       UNITED STATES DISTRICT COURT                                                          FILED
                                                                   for the
                                                        Eastern District of Missouri                                  MAY 2 812019
                                                                                                                    U. S. DISTRIC COURT
              In the Matter of the Search of                                                                      EASTERN DISTRICT OF MO
                                                            )                                                        CAPE GIRA DEAU
    Cell Phone, Model LS676, Serial Number                  )               Case No.     1:19MJ4145 ACL
    709CYMR2498411, CURRENTLY LOCATED AT Federal )
    Bureau of Investigation, 2222 Market Street, St. Louis, )
    Missouri                                                )
                                                            )
                                             APPLICATION FOR A SEARCH WARRANT
         I, Brian W. Ritter                          , a federal law enforcement officer or an attorney for the gov rnmerlt
 request a search warrant and state under penalty of perjury that I have reason to believe that on the following pro erty:
                                                               See Attachment A

 located in the             EASTERN              District of           MISSOURI            , there is now concealed


                                                               See Attachment B
          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                  evidence of a crime;
                  contraband, fruits of crime, or other items illegally possessed;
               El property designed for use, intended for use, or used in committing a crime;
               CI a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                      Offense Description
             Title 18, United States             Malicious Threats to Intimidate and/or Destroy Building by
             Code, Section 844(e)                Means of Fire
          The application is based on these facts:

                                 SEE ATTACHED AFFIDAVIT WHICH IS INCORPORATED HEREIN BY REFERENCE

             Continued on the attached sheet.
          CI Delayed notice of        days (give exact ending date if more than 30 days:                              ) is requestk
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                          Applicant's signature
                                                                       Brian W. Ritter, SA, FBI
                                                                                          Prmted nptne andhtle
                                                                                                  4r.          •, e
Sworn to before me and signed in my presence.

Date:         May 28, 2019                                               Ott:U
                                                                                           Judger signatufs         '7-ft"
                                                                                                                     •
City and state: Cape Girardeau, MO                                  Abbie Crites-Leoni, U.S. MagistrateNdge
                                                                                         Printed name and titleAV
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI

IN THE MAI 1ER OF THE SEARCH OF LG
Cell Phone, Model LS676, Serial Number
709CYMR2498411, CURRENTLY
                                              Case No. 1:19MJ4145ACL
LOCATED AT Federal Bureau of
Investigation, 2222 Market Street, St. Louis,
Missouri


                            AFFIDAVIT IN SUPPORT OF AN
                          APPLICATION UNDER RULE 41 FOR A
                           WARRANT TO SEARCH AND SEIZE


        I, Brian W. Ritter, being first duly sworn, hereby depose and state as follows:


                      INTRODUCTION AND AGENT BACKGROUND


       1.      I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a search warrant authorizing the examination of property—

electronic device—which is currently in law enforcement possession, and the extraction from

that property of electronically stored information described in Attachment B.


       2.      I am a Special Agent with the Federal Bureau of Investigation, and have been

sin-ce March 3, 1996. As part of my duties, I have investigated numerous investigations

involving electronic devices.

       3.      This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.
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                 IDENTIFICATION OF THE DEVICE TO BE EXAMINED


        4.     The property to be searched is an LG Cell Phone, Model LS676, Serial Number

709CYMR2498411, hereinafter the "Device." The Device is currently located at the Federal

Bureau of Investigation, 2222 Market Street, St. Louis, Missouri. The applied-for warrant

would authorize the forensic examination of the Device for the purpose of identifying

electronically stored data particularly described in Attachment B.


                                      PROBABLE CAUSE


        5.     On May 7, 2019, SA Brian W. Ritter of the Federal Bureau of Investigation (FBI

was contacted by Investigator Brandon Caid of Health and Senior Services, Speci

Investigations Unit. Caid advised, he was working an investigation in which elderly victims L.GI

and T.G. were being threatened by subject Dennis Ray Pikey by text messages. Caid advisei

that the victims have received multiple text messages over several days from Pikey.


       6.      The victims know Pikey and know his cell phone number, which has been th

source of the threatening texts. The victims met Pikey when he was a former inmate at th

Mississippi County Jail in Charleston, Missouri. The victims are a husband and wife from

local church in Bertrand, Missouri that regularly provides volunteer ministry outreach to inmate
                                                                                                     i
at the jail. During their ministry, Pikey befriended L.G. and T.G. through their ministry.


       7.      After Pikey was released from jail, he continued to communicate with L.G. an

T.G. Later on, Pikey visited T.G. while he was residing in a retirement/assisted living facility •

Cape Girardeau, Missouri. During the visit, Pikey made statements that changed how T.G. an

his wife L.G. looked at him. Pikey started making statements that he was having a relationshi

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with their adult daughter, which was not true, and disturbed them. Pikey's behavior also becant

more aggressive toward L.G. and T.G. As a result, they requested and received a full order

protection in Mississippi County, Missouri to keep Pikey away from them and fro

communicating with them. The protection order went into effect January 1, 2018 and was for

period of 1 year before it expired. After the order of protection expired, Pikey resumed makin

threats in February 2019 to both L.G. and T.G. by text message to their cell phones from Pikey'

cell phone.

       8.      L.G. and T.G. both are aware of Pikey's cell phone number from their previo

communications with him by text and voice calls. L.G. and T.G. advised Pikey's cell pho

number is (816)787-8766. L.G. advised that Pikey has repeatedly threated by text messages t

sexually assault her in graphic terms and to bum their church down in Bertrand, Misso

Victim L.G. advised they have received a few pictures from Pikey via text messaging. One of

the pictures sent by Pikey looked like a crucifix that may have had blood on it.


       9.      On May 7, 2019, a search of Pikey's criminal history in the Missouri uniforn

Law Enforcement System (MULES) and National Crime Information Center (NCIC) confirme

telephone number (816)787-8766 is a current listed phone number for registered sex offende

Dennis Ray Pikey. His registered address was listed as 3931 E. Scalia Ave, Apartment 2
                                                                                      1
Kansas City, Missouri. A caution indicator was noted for violent tendencies:          i


       10.    On May 7, 2019, consent to search the personal cell phones of L.G. and T.G. waj

obtained by your affiant. On same date, Sgt. Jeremy Weadon of the Missouri State Highw

Patrol conducted a forensic examination of L.G. and T.G.'s cell phones to recover all text

associated with Dennis Ray Pikey and his telephone number (816)787-8766. As a result, over 71
                                                3
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texts were located on T.G.'s cell phone that started as of February 26, 2019. Over 200 texts we

located on L.G.'s cell phone that started as of March 23, 2019.


       11.    The following are a sample of text messages from Pikey that were received b

victim L.G. on her cell phone:


       3/28/2019

       From (816) )0(X-8766

       To (573) XXX-4053

       "Kiss your goddamned building goodbye."



       3/28/2019

       From (816) XXX-8766

       To (573) XXX-4053

       "I'd stay away from y'alls useless church building if

       I was u ,just a suggestion."



       4/5/2019

       From (816) XXX-8766

       To (573) XXX-4053

       "How bad do u want to save your building? That

      woman that came with her husband & re-tarted

      son to visit Tom at Cape Girardeau before having

      his surgery, you know the one. I want her, you &

      your daughter to come up here & spend the night


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    or two ,just the 3 of u. If I come down there & get

    with u .3 you're losing your building so not coming

    isn't going to change things, it will just save your

    building. I'm only giving y'all a couple of days to

    talk about it, then I'll come down there. Let's see

    how smart y'all are."



    4/6/2019

    From (816) XXX-8766

    To (573) XXX-4053

    "I just know you're ignoring me & or not taking me

   seriously, don't make mistakes, I don't have any

   family , friends & lost my daughter. Maybe you

   think I'm not really coming down there, don't

   make that mistake , have I not been down there 3

   times now. I just wanted to talk thee last time,

   that's the reason y'alls building is still there , no

   more talking. Does anyone down there want to

   face me ? , your husband? , your town pig ? ,

   your jesus ? I'm just giving you a chance to save

   your building, don't mean shit to me if y'all lose it,

   the clock's ticking. Women never can make the

   right choice, but have it your way cause I'm still

   going to be with you 3 & burn your fucking


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       building down..."
                                      -




       4/11/2019

       From (816) XXX-8766

       To (573) XXX-4053

        "I'm going to fuck u in your ass honey ,just like

       jesus did me. I hope my daughter hates him, she

       knows he could've helped us , oh, but then Tom

       told me he isn't going to bend over backwards for

       me. I don't care if he bends over backwards or

       forwards. He can suck my cock like you're going

       to sweety."



       12.     The following are a sample of text messages from Pikey that were received b

victim T.G. on his cell phone:


       4/15/2019

       From (816) XXX-8766

       To (573) XXX-1075

       "Close your church doors before someone gets

       hurt. Your services is a joke anyway."



       4/25/2019

       From (816) XXX-8766

                                                6
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    To (573) XXX-1075

   "I just told your wife that y'all better get on those

    knees & beg your god to get off of me cause I'm

   getting real sick & tired of his bullshit, so I let her

   know, but in case y'all aint reading my text, you

   better read this one cause your house can burn

   just as good as that fucking church building, do

   you understand me now?"



   4/29/2019

   From (816) XXX-8766

   To (573) XXX-1075

   "Kiss your building good-bye too..."



   5/2/2019

   From (816) XXX-8766

   To (573) XXX-1075

   "Sorry about your building & any bitches that's there when I get there..."



   5/3/2019

   From (816) XXX-8766

   To (573) XXX-1075

   This is your last weekend in your building, I can't

   keep living on nothing & there's no-one to help me


                                              7
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        so all I can do now is die. Pm not dying up here,

        down there & since I have to burn forever Pm

       taking y'alls building with me.




       13.     On May 7, 2019 at approximately 4:52 pm, Investigator Caid indicated

victims received another text from Pikey which stated "I gave you chances to talk with me &

also gave you a chance to save your building. I almost have all of what I need to come dowli

there & when I do, I'm not talking then. Today is the day & now is the accessible time...."


      ' 14.    On May 7, 2019, a Stored Communication, GPS/Ping Emergency Request Form

was submitted to Sprint for telephone number (816)787-8766. Sprint advised (816)787-8766 i

registered to Dennis Pickey (name misspelled). GPS location information that was provide

showed the target phones location at 8:15 pm was consistent with being at Pikey's known

residence, 3931 E. Scarritt Ave, Apartment 2, Kansas City, Missouri. Toll records verifieil

numerous outgoing texts to both of the victim's cell phone numbers.

       15.    On May 14, 2019, Dennis Ray Pickey was taken into custody at his residenc

3931 Scarritt Ave. Apartment 2, Kansas City, Missouri, by the Federal Bureau of Investigatio

(FBI) in Kansas City, Missouri on an Arrest Warrant for (10) ten Counts of Title 18, U.S.0

Section 844(e). A search warrant was also served at Pikey's residence that was obtained througI
                                                                                     t
the Western District of Missouri. A white LG cellular phone, Model LS676, ID 2NFLS676t

serial number 709CYMR2498411, was located on a bed in the apartment.




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         16.     After Pikey's arrest, he was advised of his Miranda Rights, which he waived and

 agreed to talk to, interviewing agents. Pikey stated the cell phone that was recovered was thp

 only cell phone he had and stated his cell phone number was (816)787-8766. Pikey admitted t

 sending texts to L.G. and T.G. about threatening to burn their church building down in Beltran

 Missouri.

         17.     During his post-arrest interview, Pikey also stated that he had sent additional text

 threatening to travel to Portageville, Missouri to sexually assault victim T.C. Pikey could n

' recall T.C.'s cell phone number. Pikey grew up with T.C. and said he was going to "F" he

 because of all the years they ran around together. Pikey last texted T.C. a couple of days prior t

 his arrest, but shelas not responded to him since last summer.


        18.      The Device is currently in storage at the Federal Bureau of Investigation, 2222

 Market Street, St. Louis, Missouri. In my training and experience, I know that the Device has

 been stored in a manner in which its contents are, to the extent material to this investigation, in

 substantially the same state as they were when the Device first came into the possession of the

 Federal Bureau of Investigation (FBI) in Kansas City, Missouri.


                                      TECHNICAL TERMS


        19.     Based on my training and experience, I use the following technical terms to

convey the following meanings:


             a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular

                telephone) is a handheld wireless device used for voice and data communication

                through radio signals. These telephones send signals through networks of

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                transmitter/receivers, enabling communication with other wireless telephones or

                traditional "land line" telephones. A wireless telephone usually contains a "call

                log," which records the telephone number, date, and time of calls made to and

                from the phone. In addition to enabling voice communications, wireless

               telephones offer a broad range of capabilities. These capabilities include: storing

               names and phone numbers in electronic "address books;" sending, receiving, and

               storing text messages and e-mail; taking, sending, receiving, and storing still

               photographs and moving video; storing and playing back audio files; storing

               dates, appointments, and other information on personal calendars; and accessing

               and downloading information from the Internet. Wireless telephones may also

               include global positioning system ("GPS") technology for determining the

               location of the device.


        20.    Based on my training, experience, and research, I know that the Device has

capabilities that allow it to serve as portable computer and access online site as well as utilize

wifi. In my training and experience, examining data stored on devices of this type can uncover,

among other things, evidence that reveals or suggests who possessed or used the device, photos,

communications such as texts or emails, internet history and locations the device was used to

navigate to for the user of the device.


                  ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       21.     Based on my knowledge, training, and experience, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the



                                                10
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service provider are typically stored for some period of time on the device. This information c

sometimes be recovered with forensics tools.


       22.       Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct

evidence of the crimes described on the warrant, but also forensic evidence that establishes how

the Device was used, the purpose of its use, who used it, and when. There is probable cause to

believe that this forensic electronic evidence might be on the Device because:


             a. Data on the storage medium can provide evidence of a file that was once on the

                 storage medium but has since been deleted or edited, or of a deleted portion of a

                 file (such as a paragraph that has been deleted from a word processing file).


             b. Forensic evidence on a device can also indicate who has used or controlled the

                 device. This "user attribution" evidence is analogous to the search for "indicia of

                 occupancy" while executing a search warrant at a residence.


             c. A person with appropriate familiarity with how an electronic device works may,

                after examining this forensic evidence in its proper context, be able to draw

                conclusions about how electronic devices were used, the purpose of their use, wh9

                used them, and when.


             d. The process of identifying the exact electronically stored information on a storage

                medium that are necessary to draw an accurate conclusion is a dynamic process.

                Electronic evidence is not always data that can be merely reviewed by a review

                team and passed along to investigators. Whether data stored on a computer is

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                 evidence may depend on other information stored on the computer and the

                 application of knowledge about how a computer behaves. Therefore, contextual

                 information necessary to understand other evidence also falls within the scope of

                 the warrant.


              e. Further, in finding evidence of how a device was used, the purpose of its use, wh

                 used it, and when, sometimes it is necessary to establish that a particular thing is

                 not present on a storage medium.


        23.      Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the device consisten

with the warrant. The examination may require authorities to employ techniques, including but

not limited to computer-assisted scans of the entire medium, that might expose many parts of the

device to human inspection in order to determine whether it is evidence described by the warran


       24.       Manner of execution. Because this warrant seeks only permission to examine a

device already in law enforcement's possession, the execution of this warrant does not involve

the physical intrusion onto a premises. Consequently, I submit there is reasonable cause for the

Court to authorize execution of the warrant at any time in the day or night.


                                           CONCLUSION

       25.       I submit that this affidavit supports probable cause for a search warrant

authorizing the examination of the Device described in Attachment A to seek the items described

in Attachment B.



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                                              Respectfully submitted,



                                              Brian W. Ritter
                                              Special Agent
                                              Federal Bureau of Investigation

     Subscribed and sworn to before me
     on May 28, 2019:
      41 1
              C120
     UWEE1 STATES MAGISTRATE JUDGE

              ftit:5„
                   ,




                                         13
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                                      ATTACHMENT A


       The property to be searched is an LG Cell Phone, Model LS676, Serial Number

709CYMR2498411, hereinafter the "Device." The Device is currently located at the

       This warrant authorizes the forensic examination of the Device for the purpose of

identifying the electronically stored information described in Attachment B.
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                                        ATTACHMENT B


       1.       All records on the Device described in Attachment A that relate to violations of

Title 18, United States Code, Section 844(e) and involve Dennis Ray Pikey since on or about

February 26,2019, including:


            a. emails, texts, call history logs;


            b. photos;


            c. contacts listed in the phone to identify and/or verify known

               victims;


       2.      Evidence of user attribution showing who used or owned the Device at the time

the things described in this warrant were created, edited, or deleted, such as logs, phonebooks,

saved usernames and passwords, documents, and browsing history;


       3.      Records evidencing the use of the Internet to communicate, including:


            a. records of Internet Protocol addresses used;


            b. records of Internet activity, including firewall logs, caches, browser history and

               cookies, "bookmarked" or "favorite" web pages, search terms that the user

               entered into any Internet search engine, and records of user-typed web addresses.


       As used above, the terms "records" and "information" include all of the foregoing items

of evidence in whatever form and by whatever means they may have been created or stored,

including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form.
